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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TYROME CHANEYFIELD,
                           Petitioner,                       ORDER

                    -against-                                21-CV-10215 (PMH)
JULIA WILCOX,
                           Respondent.


PHILIP M. HALPERN, United States District Judge:

         On May 21, 2015, Tyrome Chaneyfield (“Petitioner”) was convicted—following a jury

trial in the New York State Supreme Court, Sullivan County—of twenty-four counts of rape. (See

Doc. 1 at 1-2). Petitioner was sentenced, on September 22, 2015, to a term of thirty-two years to

life imprisonment. (Id. at 1).

         The Petition for a Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2254 was received by

the Court on November 30, 2021. (Id.). Respondent, on April 18, 2022, moved to dismiss the

action because Petitioner is dead. (Doc. 10). Respondent provided a copy of Petitioner’s death

certificate. (Doc. 10-2). Because Petitioner is dead, he is no longer in custody. See Grant v.

Gonyea, No. 18-CV-07720, 2021 WL 1422811, at *2 (S.D.N.Y. Mar. 8, 2021). Respondent’s

motion is, accordingly, GRANTED and the Petition is DISMISSED AS MOOT.

         The Clerk of the Court is respectfully directed to terminate the motion sequence pending

at Doc. 10, mail a copy of this Order to Petitioner’s last known address, and close this case.


                                                  SO ORDERED:

Dated:     White Plains, New York
           May 31, 2022

                                                 PHILIP M. HALPERN
                                                 United States District Judge
